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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                           MIAMI DIVISION

                                   CASE NO. 17-CV-20260-JAL/Goodman


 SHEILA BODNER, as Personal
 Representative of the Estate of
 HOWARD BODNER, Deceased,

          Plaintiffs,
 v.

 ROYAL CARIBBEAN CRUISES, LTD.,
 A Liberian Corporation, ROSARIA DELOGU,
 and HELEN JOHNSTON,

       Defendant.
 ___________________________________________/


                    PLAINTIFF’S CERTIFICATE OF INTERESTED PARTIES

          The Plaintiff, SHEILA BODNER, as Personal Representative of the Estate

 of HOWARD BODNER, Deceased, by and through undersigned counsel, hereby files her

 Certificate of Interested Parties. The parties affiliated with Plaintiff having an interest in this

 litigation, so far as is known to Plaintiff to date, are:

          1.        Plaintiff, SHEILA BODNER, as Personal Representative for the Estate of

 HOWARD BODNER, Deceased. c/o Gerson & Schwartz, P.A. 1980 Coral Way, Miami, Florida

 33145.

          2.        Counsel for Plaintiff- Philip M. Gerson, Esq., Edward S. Schwartz, Esq., David

 Markel, Esq., and Nicholas I. Gerson, Esq., Gerson & Schwartz, P.A.,1980 Coral Way, Miami,

 FL 33145.



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                                     CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served

 electronically on all attorneys of record on the attached Service List on this 17th day of May,

 2017.

                                                    s/PHILIP M. GERSON
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 Howard Bodner v. Royal Caribbean, etc., et. al.
 CASE NO. 17-CV-20260-JAL/Goodman


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